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April 9, 2021

Law Offices of
Mr, Carlos Diaz - Cobo Esq.

Re: Character Recommendation - Christopher Joseph Quaglin
Mr. Diaz,

Contained within this letter are my personal and honest feelin gs reflecting the true character of
Christopher Joseph Quaglin residing in North Brunswick, New Jersey.

Obviously, as his father, 1 have known Christopher for his entire life. While growing up Christopher
consistently demonstrated that he wanted to be knownas a person who could always be counted on by
friends, peers, associates and family. He never demonstrated traits or qualities which would lead him to
be considered the type of individual who would be considered a threat to cither himself or to society.

While in high school he was an average student academically, but truly excelled im sports. He
graduated on time in four years. Shortly thereafter he attempted to enlist in the armed forces but
was rejected on the basis of his being diagnosed with Celiac disease as a child. Obviously he was
very disappointed in the decisions received from the recruiters as he was anxious to serve his
country in Iraq or Afghanistan. He centinucd his formal education by attending the Job Corp, an
intensive trade training school run by the federal government where he was mentored and guided
into completing courses pertaining to studying the basics of the electrical trade. Upon graduation
he accepted an electrical apprenticeship with a local home builder. As he grew into adulthood he
continued in his chosen trade and more recently served as a Foreman for a small local electrical
firm. During the last year or so he jomed forces with another individual to purchase an investment
property. Christopher completely refurbished this property which was then subsequently resold.
Utilizing the profit received from this endeavor Christopher started and completed a major
renovation of the home he and his wife now enjoy while cherishing the arrival of their new born
son (Nathan) in February of this year,

This is the Christopher I know. Committed and dedicated to improving the lives and well being of his
family. He is not the person who is being portrayed on the cvening news, online or even by the
authorities. He is a forthright, honest, and focused individual who can be always be relied on to put
forth whatever extra effort may be required to satisfy his employer, clients and family regardless of the
personal cost to himself.

My wife Jane and I are willing to support Chris in his release if the court deems it necessary, including
but not limited to a bond.

Should you require any additional information please feel free to contact me.
Sincerely,
Robert Quaglin

r_quaglin@comeast.net
603.835.2821

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April9, 2021
To: Mr. Carios Diaz— Colo Esq.
Re: Christopherloseph Quagiin

Dear Mir. Diaz,This note is in referenceto the character of Christopher Joseph Quaglin. i'm his mother, lane
Quaglin. Christopher grew up in New Jersey. He has lived there his whole life. His dad and |, and his older sister
were always around. We had a happy family.

Christopher did have some problems growing up. He was diagnosed with Celiac Disease atage 10. Back thenit
was difficult because there were hardly any gluten-free products on the market. Itwas extremely limiting on what
he could eat, buthe learned to deal with his limitations. His health was negatively affected. He did notgrawin
height during his teen years. This disease also prevented him from enlisting in the military service as everyservice
branch stated that they could notguarantee him gluten free sustenance while deployed. He reallywanted to join

up,go to Iraq or Afghanistan in service to hicounty. He just wanted the opportunity to serve and to make a
difference.

He has always been passionate aboutthings. ifhe enjoyed it, he always gave it his all...soccer, skiing, and
baseball. He was loyal to his friends. He did make mistakes, as all kids do, butlearned fromthem. When he took
onan assignment, he was committed to it,

Christopher wentinto an electrical training program and became passionate about that too . His demonstrated
work onjebs has always been first quality. He isin the process of getting his electrical license,

Christopher has been happily married to a wonderful woman for almost 7 years. He and is wife Moiraowna
house in New Jersey which Christopher has totally redone it inside and out to make it inte what he and Moira
wanted. Their first born child, Nathan, will enjoy itas he grows up..

Christopher without a doubt, is committed to the things he loves...his family, his community, and his cou niry. And
only wants what fs best for all.
Respectfully,

Jane Quaglin
jlquaglin@comcast.net

 

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Character statement of Christopher Quagtin

At request of the family of Christopher Quaglin, | offer this statement of character @§ 10 my perception
of iis character and judgment.

To please the court, | know Christopher Quagtin Gtiginally in a businass sense, but more recently have
become acquainted with Chris personatiy. 1am a business owner of a ficensed Security Agency, | operate
8 training school fer security personnel, and am involved with opening up a Firearms Training center ir
south Plainfield. i came to know Chris as part of the pre-construction process / develapment of the
training center.

Professionally, Chris is a hard worker and a talented electrician, i was introduced to Chris
approximately 2-3 years ago. As the project progressed, } spoke to Chris on an increasing basis. Chris
exceeded beyond most others and was truly above his peers and even catching engineering issues and
Haws in the planning / design process

Personaily, | know Chris several manths. | know Chris to be a dedicated family man. He was extremely
excited to weicome his new baby inte the word just a few weeks ago. He recently left his employmentio
single handily add 2 second floor to his home to provide a better home for his new child Nathen.

Chris is also a dedicated American. He, like many In this country, 1s concerned at the left leaning policies
embraced dy the Democrat Party. May of our discussions centered around this topic. | have never heard
Chris speak of violence regarding this topic, or any other,

Caris is a unique person though. He is the type of guy that is high energy, loud, and when he gets eoing,
does like to “shock the crowd” verbally. Its his humor. When f first encountered this aspect of Chris, it
was Duzzling and concerning to me, but | soon realized this was just Chris's act. Chris has never shared a
story of violence, ber fighting, or any morment where he has lest contro! of himself. As a business
srofessional, i am always concerned to wham | associate myself with, | have never sean violent traits
within Chris.

i have read the media reports regarding the shocking picture the Prosecution is pa inting of Chris. |
realize that anything can happen, but the picture thev are painting of Chris is NOT accurate. in my
course of business, for over 20 years, | have needed to assess people of al! types fairly quickly. { have
hired, employed, worked on criminal cases and civil cases, and trained thousands of stugents of all
types. My business is people. Chris is not a danger to society.

Pa

ea te ge

Patrick N. Amaral

Ap1D/22

 
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April 11, 2021

To whom it may concern:

This letter is in support of Christopher Quaglin son-in-law. My husband and
| have known Chris since 2008 when he began dating our daughter, Moira.
Initially, we were not particularly fond of Chris because he is a Republican
and our family members have always been staunch Democrats. However,
gradually, aside from politics, we realized that Chris has many good
qualities. He is intelligent, conscientious, and big-hearted. He has a strong
work ethic and is responsible. Most of all he loves our daughter and makes
her happy. Chris is caring. In the past | have had knee problems, and
Chris, without asking, would be there helping me up steps and over uneven
terrain. | rely on him, as does my husband whom Chris has helped with
various projects. Chris is neither racist nor antisemitic. | teach in a
Holocaust and Genocide Studies program and am acutely aware of
anyone's racist or antisemitic remarks. Chris does not speak ill of any race
or religion. He and my daughter live in a multicultural neighborhood. He has
a diverse group of friends whom we have met at his and our daughter's
backyard barbeques. His friends are Asian, black, white, Christian, Jewish,
and Muslim. Chris is not prejudiced. If he were, he would surely not have
married our daughter who is Asian-American and adopted by us when we
were teaching in China. It is difficult for us to reconcile the media's
depiction of Chris with our knowledge of our dear son-in-law whom we
have come to love. Chris is a good man who loves his family, friends, and
country. Chris is not a danger to himself or to the public in any way, and we
would be willing, if the court deems it necessary, to support Chris by way of
a bond or any means necessary.

Sincerely,

Maryann McLoughlin and Michael O’Donnell

 
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April 10, 2021

To: Mr. Carlos Diaz — Colo Esq.

Re: Christopher Joseph Quaglin

Dear Mr. Diaz:

iam writing this letter to you te inform you of my utter disbelicf in what I am leaming from the
television news casts about the allegations being brought against Christopher Quaglin. Ihave known
and been associated with Christopher throughout his entire life and with his parents for over sixty
years. Over the years my recollections of my interactions with Christopher have always been
positive, [have scen him grow from a youngster struggling to find his way in the world and maturing
into a respected and often admired adult who now has a family of his own combined with excellent
career potential.

Christopher is a good and decent hard working person. As far as I know he has neither run afoul of the
law nor expressed any signs of discontent with law enforcement. Actually he and his parents are
staunch pro-police supporters and have on multiple occasions displayed symbols of their ongoing
support of our heroes in blue. In fact Christopher comes from a family in which his grand father
honorably served as a policeman in the New York City police department for over forty years.

Please accept this letter as the true representation of the Christopher I know. I can only hopc that this
letter, in some smiall way, clearly expresses my admiration of Christopher, and the entire Quaglin

family.

Sincerely,
Robert McGuire

East Alstead, New Hampshire

 
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April9, 2021

To Mr. Carlos Diaz-Cobo Esq.

RE: Christopher Joseph Quaglin

Sir,

We are writing this note in reference to Christopher J. Quaglin of New Jersey as to his
character and behavior over the years we have known him since his birth.

We have seen Christopher grow up and live in New Jersey with a caring, supportive and
highly moral American family behind him. As he matured, he completed a governmental
electrician training program which propelled him into a career as a hard working electrician,
with realistic goals of becoming a self-employed electrical contractor. He is an honestand
dedicated individual, accepting responsibility fo his family, especially to his wife and his
newborn child.

He has been working fastidiously to renovate his New Jersey home to accommodate a better
future for his wife, child and himself. We have shared many moments with Christopher in
regards to his philosophies and have always seen him as an honest, forth rightand

helpful person with great concem for friends, community and cou ntry.

In this time of concern forAmerica, we truly believe Christopher has the best intentions for all
of us. Please contact us if we can provide any other information.

Yours truly,

Frank & Joyce Ciacia
sasso4joy@aol.com

 

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To whom it may concern;

Chris Quaglin isthe first and best friend! have made since moving to NJ for my surgical
residency 3 years ago, and he is the sort of friend you make for life. | know that regardless of
how much he disagreed with something that | believed or felt the need to do that he would
stand at my side and support me.

Chris is a good father and loyal husband. | have many times found myself envious of the loving
relationship and he and his wife share. After watching them go through the emotionally difficult
struggle of IVF, I’ve never seen him quite as proud as he was to finally have a son on the way.

Chris has seen me struggle in my own life. Whether it was comforting me after the loss of a
patient, lifting my spirits after working a 100 hour work week, or insisting that | allow him to
lend me his truck when my car broke down, Chris always went out of his way to make me feel
at home. | have seen Chris demonstrate these qualities of compassion and altruism time and
time again regardless of how different someone’s creed, religion, or ethnic background differed
from his own. Many of these examples have happened atthe dinner parties Chris would throw
where he would cook lavish meals for all comers.

| felta very heartfelt pride that he would wish to make me the godfather to his son.
| aspire to be as good of a friend to Chris as he has been to me.

| believe that Chris is in no way a flight risk or a threat to others. He isa manof his word. Arare
quality in people for sure; | know that if Chris makes a promise to someone there is no chance
of him breaking it.

Dr. Wilson Alley, M.D.

Go Aly, HD.

 
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April 9, 2021

TO: Mr Carlos Diaz — Cobo Esq.

Mr, Diaz,

Tam writing this letter in response to the recent arrest and media portrayal of Christopher Joseph
Quaglin. It is my feeling that the picture being painted of him is not an accurate portrayal of the person
that I have known for over 25 years. Christopher is by no means a leader or “ringleader* as he is being
made out to be. In fact, he is quite the opposite.

I feel compelled, as someone who knows him, to set the record straight. Christopher is a hard-working
member of society. He has held employment very consistently over the years. He was married a few
years ago and has dedicated his life to making his family comfortable and stable. He bought an
investment home and renovated it in order to sell it and buy a home that he and his family could enjoy.
He worked very hard to do this, never losing sight of his goal, He and his then pregnant wife purchased
and renovated a home in which to start their family. Christopher values his wife and child above all. He
is a loving new father. He has a very close knit family whom he loves very much. This is a side of him
that the media will not show; however, this is Christopher. He is a dependable and caring person.

Christopher has always been kind and sweet toward me and my family. I have never known him to be
mean to anyone. He is nota violent person. As an adult, he has never been in trouble with the police.
Over the years, 1 have had nothing but positive experiences with Christopher. The allegations against
him are simply not congruent with the man that I know. I can only hope that my words will not fall on
deaf cars. I can hope that you will be able to see more clearly the kind of person that Christopher is,

Sincerely,
Bridget Stone
stone.brid get-kelly@gmail.com

 
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FW: Chris Quaglin Letter-Jason Haykin

mquaglin <mquaglin@gmail.com>
Sun 4/11/2021 12:22 PM
To: info cdcesq.com <info@cdcesg.com>

Sent from my Verizon, Samsung Galaxy smartphone

naan Original message --------

From: Jason Haykin <jhaykin0788@gmail.com>
Date: 4/11/21 12:21 AM (GMT-05:00)

To: mquaglin@gmail.com

Subject: Chris’ Letter

To whom it may concern,

I'm writing this letter in support of my friend Chris
Quaglin. | have known and been friends with Chris for
almost 10 years now. He’s honestly one of the most
reliable and loyal individuals I've ever had the pleasure
of meeting.

| first became Chris’ personal trainer back in 2012
and a year later became one of the groomsmen in his
wedding. He’s such a fun-loving person to be around
and always offers more than he takes. I’m proud to call
Chris my friend and my brother and will stand by his
side to support him in any means.

Best wishes,
Jason Haykin

 
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To Whom It May Concern:

My name is Jonathan Wright. | am an attorney registered in New Jersey and New
York, appointed by the mayor of North Brunswick to the North Brunswick Zoning
Board of Adjustment, the Treasurer for my local church and another religious
nonprofit organization. My wife and | currently serve as foster resource parents to
two young children. We have resided at 806 Lee Avenue in North Brunswick for
nearly 10 years. Chris Quaglin is my backyard neighbor and a friend. Our
friendship began when the Quaglin’s moved to North Brunswick in 2014. My wife
and | befriended Chris and his wife Moira and have shared numerous social
opportunities from birthday parties and summer barbecues to shared dinners and
firepits. Unlike many neighbors, Chris and | speak often. Usually, whenever we run
into each other we'll share at least a passing greeting and often conversation that
stretches on for extended periods. Chris is generous. We’ve been invited to
innumerable dinners where Chris has lavished us with food and drink. Chris loves
to invite people to his table and honestly, the food isn’t to be missed! Chris is
quick to share with others in smaller moments as well. | was reinstalling a storm
door this last weekend. In need of some advice on how to best mount the door to
an aging home, Chris was quick to drop his own project and show up with some
power tools and a box of screws. It was a simple fix, but Chris’ resources and
expertise were readily offered (and gladly accepted!) Chris has always treated us
like family. In short, Chris is a wonderful neighbor. He’s generous and giving,
always willing to lend a hand and an ear.

If there’s anything we can do to help Chris in this confusing and troubling time,
please do not hesitate to reach out.

Sincerely,

Jonathan Wriaht

Jonathan Wright

PP

 
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April 11, 2021

To whom it may concern:

[am writing in support of Christopher Quaglin, myhusband. I have known
Chris for thirteen years and have been married to him for seven years.

[ have always known Chris to be a kind, respectful, and honest man. He has
never been violent or aggressive towatds me ot my family and friends. Chris is
a loving, caring, and dedicated father. We had our first child, a son, Nathan, on
February 5, 2021. Chris had no experience with babies but quickly learned how
to comfort, swaddle, and change diapers. He played soccet growing up and
looks forward to being involved in teaching our son soccer.

Chris is a hard-working professional. He has been an electrician for the past
fifteen years and has an excellent work ethic and is well-respected by fellow
electricians. He is responsible, intelligent, and cooperative. He relates well both
to managers and his peers.

Christ supports law enforcement. He donates each year to the North
Brunswick Police Department’s annual fundraiser. This past summet he
organized a peaceful march in support of North Brunswick law enforcement.

Chris loves and cares deeply about his family and friends. He loves his country.
In the thirteen years I’ve known Chris, I have never seen him exhibit any

violent tendencies,

His continued detention would devastate our family financially and would cause
serious harm to Chris physically as he has Celiac disease and has not been
provided adequate nutrition since his incarceration,

Sincerely,

Moira An Quaglin

 
